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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION


TRUSTEES OF THE TEXAS IRON                            §
WORKERS’ PENSION TRUST                                §
FUND, et al.,                                         §
            Plaintiffs,                               §     CIVIL CASE NO. H-07-0442
                                                      §
v.                                                    §
                                                      §
JAMES E. VAN M ETER, JR., et al.,                     §
          Defendants.                                 §


                                               DISMISSAL ORDER

            It is hereby ORDERED that Plaintiff’s M otion to Dismiss [Doc. # 4] is

GRANTED and this case is DISMISSED WITHOUT PREJUDICE, each party to

bear its own costs.

            SIGNED at Houston, Texas, this 2 nd day of March, 2007.




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